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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

    In re:                                           §
                                                     §           Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH                        §
    OF THE ARCHDIOCESE OF NEW                        §           Section “A”
    ORLEANS,                                         §
                                                     §           Chapter 11
                 Debtor.1                            §
                                                     §


                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                  OMNIBUS HEARING ON THURSDAY, JUNE 26, 2025, AT 9:30 A.M.

             The above-captioned debtor and debtor-in-possession (the “Debtor”) hereby files this

   Notice of Agenda (the “Agenda”) of matters scheduled for omnibus hearing on Thursday, June

   26, 2025, at 9:30 a.m. before United States Bankruptcy Judge Meredith S. Grabill pursuant to

   Subpart VII of the Procedures for Complex Chapter 11 Cases Filed in the United States Bankruptcy

   Court for the Eastern District of Louisiana [Amended as of January 10, 2025].

             Parties in interest may participate in the hearing (i) in person in Courtroom B-709, 500

   Poydras Street, New Orleans, LA 70130; (ii) by telephone only (Dial-in: 1-504-517-1385, Access

   Code: 129611); or (iii) by telephone using the dial-in number and video using

   https://gotomeet.me/JudgeGrabill (Meeting Code: “JudgeGrabill”). Parties in interest are directed

   to the Court’s Amended General Order 2021-2 for information on conduct of hearings, available

   at https://www.laeb.uscourts.gov/ (amended and effective as of January 1, 2025).




             1
             The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s
   principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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                                    CONTESTED MATTERS

           1. Eleventh Interim Application of Jones Walker LLP for Allowance of Compensation and
              Reimbursement of Expenses, as Counsel to the Debtor and the Debtor in Possession,
              for the Period from November 1, 2023 Through February 29, 2024 [ECF No. 2927]

                  Movant:            Jones Walker LLP
                  Nature of Matter: Interim Application for Compensation
                  Response Deadline: April 18, 2024
                  Status:            This matter is going forward in accordance with the Order
                                     entered at ECF No. 4004.
                  Responses:

                  •   Certain Abuse Survivors’ Objection to Jones Walker, LLP’s Eleventh Interim
                      Application for Allowances of Compensation and Reimbursement [Rec. Doc.
                      2927] [ECF No. 2943]

           2. Twelfth Interim Application of Jones Walker LLP For Allowance of Compensation and
              Reimbursement of Expenses, as Counsel to the Debtor and the Debtor in Possession,
              for the Period from March 1, 2024 Through June 30, 2024 [ECF No. 3240]

                  Movant:            Jones Walker LLP
                  Nature of Matter: Interim Application for Compensation
                  Response Deadline: September 9, 2024
                  Status:            This matter is going forward in accordance with the Order
                                     entered at ECF No. 4004.
                  Responses:

                  •   Certain Abuse Survivors’ Objection to Jones Walker, LLP’s Twelfth Interim
                      Application for Allowances of Compensation and Reimbursement [Rec Doc.
                      3240] [ECF No. 3363]

           3. Thirteenth Interim Application of Jones Walker LLP for Allowance of Compensation
              and Reimbursement of Expenses, as Counsel to the Debtor and the Debtor in
              Possession, for the Period from July 1, 2024 through October 31, 2024 [ECF No.
              3525]

                  Movant:            Jones Walker LLP
                  Nature of Matter: Interim Application for Compensation
                  Response Deadline: January 9, 2025
                  Status:            This matter is going forward in accordance with the Order
                                     entered at ECF No. 4004.
                  Responses:




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                  •   Certain Abuse Survivors’ Objection to Jones Walker, LLP’s Thirteenth Interim
                      Application for Allowances of Compensation and Reimbursement [Rec Doc.
                      3525] [ECF No. 3648]

           4. Fourteenth Interim Application of Jones Walker LLP for Allowance of Compensation
              and Reimbursement of Expenses, as Counsel to the Debtor and the Debtor in
              Possession, for the Period from November 1, 2024 Through February 28, 2025 [ECF
              No. 3864]

                  Movant:            Jones Walker LLP
                  Nature of Matter: Interim Application for Compensation
                  Response Deadline: April 10, 2025
                  Status:            This matter is going forward in accordance with the Order
                                     entered at ECF No. 4004.
                  Responses:

                  •   Certain Abuse Survivors’ Objection to Jones Walker, LLP’s Fourteenth Interim
                      Application for Allowances of Compensation and Reimbursement [Rec. Doc.
                      3864] [ECF No. 3891]

           5. Order to Show Cause [ECF No. 3949]

                  Movant:            N/A
                  Nature of Matter: Order to Show Cause
                  Response Deadline: Postponed
                  Status:            This matter is going forward.
                  Responses:         None.

           6. Certain Abuse Survivors’ Motion to Dismiss Bankruptcy Pursuant to 11 U.S.C. §
              1112(b) [ECF No. 3965]

                  Movants:           Certain Abuse Survivors
                  Nature of Matter: Motion to Dismiss
                  Response Deadline: Postponed
                  Status:            The Court will conduct a preliminary hearing on this matter
                                     in accordance with the Order entered at ECF No. 4019.
                  Responses:         None.

           7. Motion to Consider Whether the Materials in Question Should Be Sealed Pursuant to
              Local Rule 5.6(D)(2) [ECF No. 3967]

                  Movants:           Certain Abuse Survivors
                  Nature of Matter: Motion to Unseal
                  Response Deadline: Postponed
                  Status:            The Court will conduct a preliminary hearing on this matter
                                     in accordance with the Order entered at ECF No. 4019.


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                  Responses:             None.

           8. Certain Abuse Survivors’ Motion for Evidentiary Hearing on Motion to Dismiss
              Bankruptcy Pursuant to 11 U.S.C. § 1112(b) [ECF No. 3969]

                  Movants:           Certain Abuse Survivors
                  Nature of Matter: Motion to Set Evidentiary Hearing
                  Response Deadline: Postponed
                  Status:            The Court will conduct a preliminary hearing on this matter
                                     in accordance with the Order entered at ECF No. 4019.
                  Responses:         None.

           9. Certain Abuse Survivors’ Motion for Leave to Conduct a Rule 2004 Examination of
              Archbishop Gregory Aymond [ECF No. 3970]

                  Movants:           Certain Abuse Survivors
                  Nature of Matter: Motion for Leave to Conduct Rule 2004 Examination
                  Response Deadline: Postponed
                  Status:            The Court will conduct a preliminary hearing on this matter
                                     in accordance with the Order entered at ECF No. 4019.
                  Responses:

                  •   U.S. Fire Insurance Company and International Insurance Company’s
                      Response and Reservation of Rights to Certain Abuse Survivors’ Motion for
                      Leave to Conduct a Rule 2004 Examination of Archbishop Gregory Aymond
                      [ECF No. 4075]

           10. Debtor’s Expedited Motion for Authority to Amend Oakmere Lease Pursuant to §§
               105(a) and 363(b) of the Bankruptcy Code [ECF No. 4062]

                  Movant:            Debtor
                  Nature of Matter: Motion to Amend Lease
                  Response Deadline: June 25, 2025, at 12:00 p.m.
                  Status:            This matter is set for hearing on an expedited basis in
                                     accordance with the Order entered at ECF No. 4065.
                  Responses:         None. However, as indicated above, the response deadline
                                     has not yet expired.

                                      STATUS CONFERENCE

           11. A status conference will be held for purposes of discussing a scheduling order.




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           Dated: June 25, 2025                 Respectfully submitted,

                                                /s/ Samantha A. Oppenheim
                                                R. PATRICK VANCE (#13008)
                                                ELIZABETH J. FUTRELL (#05863)
                                                MARK A. MINTZ (#31878)
                                                SAMANTHA A. OPPENHEIM (#38364)
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                                                Email: efutrell@joneswalker.com
                                                Email: mmintz@joneswalker.com
                                                Email: soppenheim@joneswalker.com

                                                ATTORNEYS FOR
                                                THE ROMAN CATHOLIC CHURCH OF
                                                THE ARCHDIOCESE OF NEW ORLEANS


                                   CERTIFICATE OF SERVICE

          I hereby certify, on June 25, 2025, that a true and correct copy of the foregoing Notice of
   Agenda (a) is being filed through the Court’s ECF system, which provides electronic notice to all
   attorneys registered to receive notice through such system, including all attorneys who have filed
   papers with respect to the matters scheduled for hearing, and (b) is contemporaneously being
   provided to Donlin Recano & Company, Inc. (“DRC”), to be served by email or First Class U.S.
   Mail, postage prepaid, on all other parties requiring service under the Court’s Ex Parte Order
   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures [ECF No. 22].

                                                /s/ Samantha A. Oppenheim
                                                Samantha A. Oppenheim




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